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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   GABRIEL DORSEY,                       Case No.: 2:20-cv-01408 DSF (JCx)
                                           Hon. Dale S. Fischer
12
                Plaintiff,
13        vs.
                                           ORDER GRANTING STIPULATION
14                                         TO SET ASIDE DEFAULT AND
   PROPEL FUELS, INC. D/B/A                DISMISSING THE ENTIRE ACTION
15 CHEVRON; 1250 SEPULVEDA, LLC;           WITH PREJUDICE
16 and DOES 1 to 10,

17              Defendants.
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                                         ORDER
Case 2:20-cv-01408-DSF-JC Document 23 Filed 10/16/20 Page 2 of 2 Page ID #:86



 1         Based on the stipulation of the parties and for good cause shown:
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 3         GOOD CAUSE APPEARING, the default entered against Defendant 1250

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 5   SEPULVEDA, LLC is set aside and the entire above-entitled action is dismissed

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 7   with prejudice.

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           IT IS SO ORDERED.
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     DATED: October 16, 2020
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                                           Honorable Dale S. Fischer
11                                         UNITED STATES DISTRICT JUDGE
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                                            ORDER
